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                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION


  UNITED STATES OF AMERICA                      )
                                                )
  v.                                            )        Case No. 3:11-cr-00012-11
                                                )        Senior Judge Wiseman
  LAMONT COTTON                                 )



             DEFENDANT LAMONT COTTON’S MOTION FOR LEAVE TO JOIN IN
                     AND ADOPT CERTAIN PRETRIAL MOTIONS

             COMES NOW the Defendant, Lamont Cotton, by and through his undersigned counsel,

  and hereby moves the Court for leave to join in and adopt certain pending pretrial motions filed by

  codefendants. Specifically, Mr. Cotton requests that he be allowed to join in and adopt the following

  filings:

             1.   Motion to Suppress Evidence Obtained Pursuant to Unlawful Wiretap (TT5 and TT6)

  (Docket Entry 828);1

             2. Motion to Motion to Suppress Evidence Obtained Pursuant to Unlawful Wiretap (TT7,

  TT8 and TT5 Renewal) (Docket Entry 875); and,

             3. Memorandum of Law in Support of Motion to Suppress Evidence Obtained Pursuant to

  Unlawful Wiretaps: TT1, TT2, TT3, TT4, TT5, TT6, TT7, TT8, TT9, TT10, TT11. (Docket Entry

  748).


             1
            As noted in Mr. Cotton’s motion to suppress fruits of electronic surveillance occurring
  over Target Telephones 5 and 8, he is a statutorily recognized “aggrieved person” and has
  standing to challenge the interception of Target Telephones 5 and 8 since his wire
  communications were intercepted on both lines. (Docket Entries 899 & 900).


                                                     1


   Case 3:11-cr-00012          Document 926         Filed 05/10/12   Page 1 of 1 PageID #: 4684
